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     Attorneys for Plaintiff:
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13
                        UNITED STATES DISTRICT COURT
14
15                   NORTHERN DISTRICT OF CALIFORNIA
16
     JOHN PATRICK RILEY, an                    Case No.:
17   individual,
18
                                               COMPLAINT FOR:
                       Plaintiff,
19                                               1. Unreasonable Search and
20   vs.                                         Seizure—Detention and Arrest (42
                                                 U.S.C. §1983);
21   CITY OF COTATI; COTATI                      2. Unreasonable Search and
     POLICE DEPARTMENT;
22   MICHAEL PARISH; JERRY                       Seizure—Excessive Force (42
     CUNNINGHAM; TYLER                           U.S.C. § 1983);
23   WARDLE; BENNET KNIGHT;
     DOES 1 through 20, inclusive,               3. Municipal Liability for
24                                               Unconstitutional Custom, Practice,
                       Defendants.               or Policy (42 U.S.C. § 1983);
25
                                                 4. Municipal Liability— Failure to
26                                               Train (42 U.S.C. § 1983);
27                                               5. False Arrest/False
                                                 Imprisonment
28                                               6. Battery;
                                           1
                                     COMPLAINT
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1                                                    7.   Negligence;
2
                                                    AND REQUEST FOR JURY
3                                                   TRIAL.
4
5                                       COMPLAINT
6          COMES NOW Plaintiff JOHN RILEY alleges in his complaint against
7
     Defendants CITY OF COTATI; COTATI POLICE DEPARTMENT; MICHAEL
8
     PARISH; JERRY CUNNINGHAM; TYLER WARDLE; BENNET KNIGHT and
9
10   DOES 1 through 10, inclusive, 20, inclusive, as follows:

11                                  I. INTRODUCTION
12         1.     This civil rights action seeks compensatory and punitive damages
13
     against Defendants for violating various rights of Plaintiff protected under the
14
     United States Constitution and state law by certain members of the Cotati Police
15
16   Department as further described herein.
17                           II. JURISDICTION AND VENUE
18         2.     This civil action is brought for the redress of alleged deprivations of
19
     constitutional rights as protected by 42 U.S.C. §§1983, 1985, 1986, 1988, and the
20
     Fourth and Fourteenth Amendments of the United States Constitution. Jurisdiction
21
22   is founded on 28 U.S.C. §§1331, 1343, and 1367
23         3.     This Court has supplemental jurisdiction under 28 U.S.C.§1367 over
24
     all other claims as claims so related to claims in the action within original
25
     jurisdiction that they form part of the same case or controversy under Article III of
26
27
     the United States Constitution.

28         4.     Venue in this Court is proper under 28 U.S.C. § 1391(b) because the

                                                2
                                        COMPLAINT
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1
     Defendants reside in, and all incidents, events, and occurrences giving rise to this
2
     action occurred in the County of Sonoma, California.
3
4    ///
5                                    III. THE PARTIES
6
              5.    At all relevant times, Plaintiff JOHN PATRICK RILEY was an
7
     individual residing in the County of Sonoma, California.
8
              6.    At all relevant times, Defendant CITY OF COTATI (the "City"), was
9
10   a duly organized public entity, an incorporated city in Sonoma County, existing
11   under the laws of the State of California. At all relevant times, the City,
12
     established, funds, and administers Defendant COTATI POLICE DEPARTMENT
13
     ("CPD"). At all relevant times, CPD was the employing public agency of
14
15   individual Defendants MICHAEL PARISH, who was at all relevant times, the

16   chief of police of CPD; and CPD police officers JERRY CUNNINGHAM;
17   TYLER WARDLE; and BENNET KNIGHT. On information and belief,
18
     individual defendants MICHAEL PARISH, JERRY CUNNINGHAM; TYLER
19
     WARDLE; and BENNET KNIGHT, were and are residents of the County of
20
21   Sonoma, California.

22            7.    At all relevant times, Defendant MICHAEL PARISH, as chief of
23   police of CPD, is the individual authorizes and responsible for the policies and
24
     practices of the CPD, and the individual holding a position with the ultimate
25
     responsibility for ensuring compliance by its officers with the U.S. Constitution,
26
27   and all other applicable federal, state and local law.
28            8.    At all relevant times, Defendant MICHAEL PARISH was policy
                                                3
                                        COMPLAINT
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1
     making, managerial, supervisorial, and executive employee of Defendant City.
2
           9.     At all relevant times, individual defendants JERRY CUNNINGHAM;
3
4    TYLER WARDLE; and BENNET KNIGHT, were police officers who violated,
5    participated in the violations of, or otherwise materially involved in the acts
6
     complained of herein. Individual defendants JERRY CUNNINGHAM; TYLER
7
     WARDLE; and BENNET KNIGHT, and other unknown CPD officers, in doing
8
     the acts alleged herein, acted under the color of law, as City police officers, to
9
10   willfully deprive Plaintiff of rights protected under the U.S. Constitution and
11   California state law.
12
           10.      At all relevant times, individual defendants MICHAEL PARISH,
13
     JERRY CUNNINGHAM; TYLER WARDLE; BENNET KNIGHT; and DOES 1
14
15   through 20 inclusive, were duly authorized employees and agents of Defendant

16   City, and the actions alleged herein were committed by Defendants, each of them,
17   under color of law as agents purportedly acting under the authority and ratification
18
     of their principal, Defendant City.
19
           11.    At all relevant times, Defendants MICHAEL PARISH, JERRY
20
21   CUNNINGHAM; TYLER WARDLE; BENNET KNIGHT; and DOES 1 through

22   20 inclusive, were duly appointed officers, agents, and employees of the City,
23   subject to oversight and supervision by City's elected and non-elected officials.
24
           12.     In doing acts described herein, Defendants MICHAEL PARISH,
25
     JERRY CUNNINGHAM; TYLER WARDLE; BENNET KNIGHT; and DOES 1
26
27   through 20 inclusive, were acting on the implied, and actual permission and
28   consent of the City.
                                                4
                                           COMPLAINT
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1
           13.    At all relevant times, Defendants City, and its agency, the CPD, had
2
     the legal duty to oversee and supervise and review the hiring, continued
3
4    employment, training, and review conduct of individual defendants MICHAEL
5    PARISH, JERRY CUNNINGHAM; TYLER WARDLE; BENNET KNIGHT; and
6
     DOES 1 through 20 inclusive.
7
           14.    The true names of defendants DOES 1 through 20 inclusive, are
8
     unknown to Plaintiff, who therefore sue these defendants by such fictitious names.
9
10   Plaintiff will seek leave to amend this complaint to show the true names and
11   capacities of these defendants sued as DOES, when the true names and capacities
12
     have been discovered or ascertained.
13
           15.    The acts and omissions of individual Defendants MICHAEL
14
15   PARISH, JERRY CUNNINGHAM; TYLER WARDLE; BENNET KNIGHT; and

16   DOES 1 through 20, described herein, arise from an illegal and unjustified assault
17   and subsequent false arrest of Plaintiff occurring on February 7, 2020, in the City
18
     of Cotati.
19
           16.    At all relevant times, Defendants DOES 1 through 10, inclusive, were
20
21   police officers employed by CPD who participated in the violation of Plaintiff's

22   protected rights, or who materially assisted other defendants in the violation of
23   those rights, or who knowingly assisted defendants in the concealment of, and/or
24
     knowingly made false denials of the material facts of the violation of Plaintiff's
25
     protected rights.
26
27         17.    At all relevant times, Defendants DOES 11 through 20, inclusive,
28   were managers, supervisors, administrators, and policy making individuals within
                                               5
                                        COMPLAINT
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1
     and employed by the CPD. DOES 11 through 20, were hired, promoted, and
2
     supervised by the City.
3
4          18.    Individual defendants MICHAEL PARISH, JERRY
5    CUNNINGHAM; TYLER WARDLE; BENNET KNIGHT; and DOES 1 through
6
     20, inclusive, are sued in both their official and individual capacities. Individual
7
     defendants MICHAEL PARISH, JERRY CUNNINGHAM; TYLER WARDLE;
8
     BENNET KNIGHT; and DOES 1 through 20, inclusive, sued in their individual
9
10   capacity, for purposes of enforcing claims for money damages. In doing the acts
11   complained of herein, individual defendants Individual defendants MICHAEL
12
     PARISH, JERRY CUNNINGHAM; TYLER WARDLE; BENNET KNIGHT; and
13
     DOES 1 through 20, inclusive, violated clearly established law.
14
15         19.    The actions complained of herein, were actions that were

16   unreasonable for police officers, contrary to the law, and committed with the
17   knowledge that the legally protected rights of Plaintiff would be violated and/or
18
     with no regard for the legally protected rights of the Plaintiff. These legal rights are
19
     clearly established and recognized rights protected by the United States
20
21   Constitution, including the right to be free from unreasonable search and seizure in

22   the Fourth Amendment's prohibition against such acts.
23         20.    The actions complained of herein, were objectively unreasonable and
24
     the official acts of individual defendants were beyond the discretion of the
25
     authority granted to them by law, and the scope and nature of the actions of
26
27   individual defendants, and the subsequent approval of defendant City, demonstrate
28   a policy and practice of the CPD that routinely violate the Fourth Amendment
                                                6
                                        COMPLAINT
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1
     without accountability or consequence. Accordingly, the actions by police officers
2
     of the City against Plaintiff are not entitled not entitled to immunity, and immunity
3
4    in this action would act as license to officials to continue to deprive and violate
5    rights and privileges protected under the United States Constitution.
6
             21.   Plaintiff is informed and believes, and based thereon alleges, that each
7
     of the fictitiously named defendants is liable and responsible in some manner for
8
     the claims, demands, losses, acts and damages alleged herein, by operation of law,
9
10   by agency, by ratification, by contributory and acting in concert to harm the
11   Plaintiff as alleged herein.
12
             22.   Plaintiff is further informed and believes, and based thereon alleges,
13
     that the acts and conduct of each of the individual defendants alleged herein were
14
15   known to, authorized and/or ratified by each of the other defendants.

16           23.   On July 31, 2020, Plaintiff served a timely written claim on the City
17   in compliance with presentment requirement of California's Government Claims
18
     Act.
19
                                    IV. COMMON FACTS
20
21           24.   Plaintiff repeats and re-alleges the allegations contained in paragraphs

22   1 through 23, inclusive, of this Complaint as though the same were fully set forth
23   herein.
24
             25.   On Friday, February 7, 2020, in the downtown area of City of Cotati,
25
     Plaintiff was with several of his friends waiting for a ride to pick them up to return
26
27   home.
28           26.   Thursday nights are typically busy during after hours, with many
                                                7
                                        COMPLAINT
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1
     people patronizing the drinking establishments in the downtown Cotati area. Most
2
     of the people in the downtown area during the late hours are students at nearby
3
4    Sonoma State University patronizing the many bars located downtown. CPD
5    routinely conduct foot patrols in the area during the late and early morning hours
6
     for the stated purpose of maintaining public safety.
7
           27.    While waiting, Plaintiff and his friends were accosted another
8
     identified male, identified by CPD as Sean Stell, who appeared intoxicated.
9
10   According to CPD officers who prepared statements on the incident, Mr. Stell is
11   known to CPD officers who patrol the downtown area, being involved in multiple
12
     incidents in the past where Mr. Stell initiated physical alterations with other, was
13
     intoxicated, and was verbally abusive to others, including the police.
14
15         28.    Plaintiff and his friends had no familiarity with Mr. Stell and the early

16   Friday morning was the first encounter with this individual. Mr. Stell acted
17   hostile, and began yelling profanities at Plaintiff and his friends.
18
           29.    Mr. Stell started physically attacking one of Plaintiff's friends.
19
     Plaintiff and his friends were attempting to avoid engaging Mr. Stell and
20
21   attempting to retreat from Mr. Stell when a CPD officer, later identified as TYLER

22   WARDLE, arrived during his foot patrol of the area. Officer WARDLE ordered
23   Plaintiff, his friends and Mr. Stell to stop fighting and ordered everyone to the sit
24
     on the ground.
25
           30.    Officer WARDLE began yelling out to Plaintiff and the people
26
27   present, that he was police, and the order to cease fighting and to sit on ground
28   while directing bright light from his flashlight directly towards Plaintiff and the
                                                8
                                         COMPLAINT
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1
     people around him. The light obscured the vision of Plaintiff in the direction
2
     where Officer WARLE was.
3
4             31.   Upon the sudden arrival of Officer WARDLE and Officer
5    WARDLE's command to cease movement, Plaintiff and his friends understood
6
     Officer WARDLE was a police officer and that they were detained.
7
              32.   Officer WARDLE was then joined by other CPD officers, later
8
     identified as Defendants JERRY CUNNINGHAM and BENNET KNIGHT at the
9
10   scene.
11            33.   Officer CUNNINGHAM, upon his arrival at the scene of the incident,
12
     observed Plaintiff in compliance with the initial orders to cease fighting, remaining
13
     prone in the sitting position on the ground while Officer WARDLE was
14
15   questioning the parties.

16            34.   Officer WARDLE, based on his interactions with Plaintiff at the
17   scene, understood that Plaintiff was not intoxicated, and Officer WARDLE had not
18
     witnessed Plaintiff acting violently or committing any crime. Officer WARDLE
19
     acknowledged these facts in a prepared written statement after the incident.
20
21            35.   At no time did Plaintiff refuse any order or command by any police

22   officer at the scene, and was in compliance with each command as ordered by
23   police officers, including Officer WARDLE.
24
              36.   CPD officers, in statements prepared after the incident, reported that
25
     Plaintiff and the other people present stopped fighting once ordered to do so, and
26
27   complied with instructions to remain prone, in a sitting position on the ground.
28   Plaintiff and his friends understood the officer WARDLE's instructions as an
                                                 9
                                         COMPLAINT
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1
     explicit order that they were not free to leave, and that they were detained until the
2
     police permitted them to leave. At no time during the detainment and questioning
3
4    were Plaintiff and his friends informed that they were suspects, believed to have
5    committed any crime, and did not act in any overt manner to threaten the safety of
6
     police officers at the scene, or any other person.
7
           37.    During the questioning, Plaintiff and his friends informed Officer
8
     WARDLE that they were accosted by Mr. Stell and that they were outside at that
9
10   time waiting for and attempting to get a ride home on Uber.
11         38.    From the start of the encounter with police and up to the time when he
12
     was assaulted, Plaintiff complied with each order communicated to him by the
13
     police without hesitation or objection, and did not communicate any hostility to
14
15   police officers at the scene.

16         39.    After a short time questioning Plaintiff, Officer KNIGHT ordered
17   Plaintiff to stand up. Plaintiff complied with Officer KNIGHT's instruction.
18
           40.    When Plaintiff stood up in compliance with Officer KNIGHT's
19
     command, Officer KNIGHT grabbed Plaintiff's arm forcibly as a control point for
20
21   a takedown of Plaintiff. The action of Officer KNIGHT was sudden and violent,

22   and Plaintiff in natural reaction resisted the takedown and was attempting to
23   remain standing. Officer KNIGHT could have ordered Plaintiff to a prone position
24
     on the ground, but instead acted without warning or instruction.
25
           41.    Officers KNIGHT and WARDLE did throw Plaintiff to the ground,
26
27   slamming Plaintiff face first into the concrete onto his stomach, placing Plaintiff's
28   body beneath Officers KNIGHT and WARDLE in an advantageous position of
                                               10
                                        COMPLAINT
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1
     using Offices KNIGHT and WARDLE's weight to suppress movement by Plaintiff.
2
            42.    When Plaintiff interjected why he was thrown to the ground, Officer
3
4    KNIGHT responded that he was getting the wallet in Plaintiff's back pants-pocket.
5    Plaintiff stated he simply needed to ask for it and Plaintiff would have complied.
6
            43.    Officer KNIGHT responded aggressively, by slamming Plaintiff's
7
     head, face first into the concrete, breaking Plaintiff's nose and damaging the tissue
8
     around his face. Officer KNIGHT immediately followed this action with the
9
10   process of handcuffing Plaintiff's hands behind his back while repeatedly striking
11   Plaintiff with the closed fists and knees.
12
            44.    Officer WARDLE witnessed the actions of Officer KNIGHT and
13
     assisted in the assault on Plaintiff.
14
15          45.    During a time span of less than minute, CPD officers punished

16   Plaintiff with heavy strikes to Plaintiff's head, arms, and back. Plaintiff at no time,
17   responded physically to the strikes and was physically unable to defend himself
18
     from the underneath position Officer KNIGHT had placed him in, and Plaintiff
19
     was effectively immobilized by CPD pressing down on him with his weight and
20
21   Plaintiff's hands being handcuffed behind his back.

22          46.    After pummeling Plaintiff with blows, that were unprovoked and
23   when officer safety was not threatened, Officer KNIGHT continued to press down
24
     on Plaintiff's neck and back area and additional CPD officers assisted Officer
25
     KNIGHT by also pressing down on Plaintiff's back and ankles to the excruciating
26
27   pain of Plaintiff.
28          47.    Officer WARDLE, and other CPD officers at the scene maintained
                                                  11
                                             COMPLAINT
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1
     pressure even when Plaintiff screamed in pain and asked officers to stop pressing
2
     down on him, and even after one of Plaintiff's friends, witnessing Plaintiff in
3
4    distress begged them to stop.
5          48.    Plaintiff's face was swollen with abrasions, contusions, a black eye,
6
     and was bleeding from the nose and mouth area.
7
           49.    At no time did Plaintiff act in any manner to threaten any persons at
8
     the scene, and at no time was Plaintiff informed that any concern for officer safety
9
10   was arose. Plaintiff was compliant, and there was no reasonable basis by a police
11   officer to detain, attempt arrest, arrest, assault and batter the Plaintiff in the manner
12
     and severity suffered.
13
           50.    Without probable cause or evidence, CPD Officers, including Officer
14
15   WARDLE, charged Plaintiff with violation of the misdemeanor crime for the

16   willful resistance or delay of any public officer, peace officer or emergency
17   medical technician. Cal. Penal Code Sec. 148(A)(1).
18
           51.    After the incident, Defendant Officers WARDLE, CUNNINGHAM,
19
     and KNIGHT prepared written statements in a CPD Incident/Investigation Report
20
21   falsely claiming that they were concerned Plaintiff possessed a concealed weapon

22   and were attempting to restrain Plaintiff to prevent access to a phantom weapon.
23         52.    The prepared statements of Officers WARDLE, CUNNINGHAM,
24
     and KNIGHT concealed material facts of the incident, and the facts that Plaintiff
25
     obeyed each of the orders given to him by police at the scene, that the physical
26
27   assault of Plaintiff by CPD was unprovoked and unjustified, the force used
28   excessive, and the conduct of the police outside the scope of reasonable police
                                                12
                                         COMPLAINT
      Case 4:21-cv-06244-JST Document 1 Filed 08/12/21 Page 13 of 29




1
     conduct.
2
           53.    Plaintiff was later taken by Officer WARDLE and processed into the
3
4    custody of the Sonoma County Main Adult Detention Facility (MADF). From the
5    initial contact, through arrest, to transport, and transfer of custody by Officer
6
     WARDLE, Plaintiff engaged in no hostile acts towards any person, and was
7
     consistent in informing police that he did not participate in any fight.
8
           54.    Plaintiff is informed and believes that the use of excessive force under
9
10   the circumstances is part of a pattern, practice, and de facto policy of CPD, that
11   disregards the rights of individual citizens, and is contrary to the stated objectives
12
     of sound community police practice and in fact places police officers in greater
13
     danger of harm or increases the risk to public safety.
14
15         55.    The intended purpose of the use of excessive force as a blanket

16   reaction to interactions with the public during foot patrols of the downtown area
17   during the late hours and early morning is designed to intimidate the public by a
18
     display of physical violence and injury to people to unlucky enough to encounter
19
     CPD officers. The practice fails to enhance public safety, provide improved
20
21   officer safety, and increased the risk to the public and the police by escalating

22   interactions into a physical altercation without provocation or justification.
23         56.    Plaintiff took no action to threaten the safety of police officers at the
24
     scene. Plaintiff was unable to defend and avoid injury when he was physically
25
     assaulted by CPD officers because of the suddenness and viciousness of the police
26
27   action. At no time did Plaintiff express non-compliance with police orders, refuse
28   any order or instruction made by police, or threaten by words or action, the safety
                                                13
                                        COMPLAINT
       Case 4:21-cv-06244-JST Document 1 Filed 08/12/21 Page 14 of 29




1
     of any police or person at the scene.
2
     ///
3
4    ///
5                                            COUNT 1
6
           Unreasonable Search and Seizure—Detention and Arrest (42 U.S.C. §1983)
7
           AGAINST Defendants WARDLE, CUNNINGHAM, KNIGHT AND DOES 1
8
                                 THROUGH 10, INCLUSIVE
9
10           57.   Plaintiff repeats and re-alleges the allegations contained in paragraphs
11   1 through 56, inclusive, of this Complaint as though the same were fully set forth
12
     herein.
13
             58.   Defendants WARDLE, CUNNINGHAM, KNIGHT and DOES 1
14
15   through 10, inclusive, acting under the color of law, specifically under the

16   authority vested with the CPD by the City, and caused Plaintiff to be detained,
17   arrested, and assaulted in violation of law.
18
             59.   Defendants WARDLE, CUNNINGHAM, KNIGHT and DOES 1
19
     through 10, inclusive, violated Plaintiff's legally protected rights under federal law,
20
21   including his right to be secure in his person against unreasonable searches and

22   seizures as guaranteed to Plaintiff under the Fourth Amendment to the United
23   States Constitution and applied to state actors by the Fourteenth Amendment.
24
             60.   As a result of the conduct of Defendants WARDLE,
25
     CUNNINGHAM, KNIGHT and DOES 1 through 10, inclusive, are liable for
26
27   Plaintiff’s injuries because they were integral participants to the violations of
28   Plaintiff’s rights.
                                               14
                                        COMPLAINT
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1
           61.    The Plaintiff was detained without reasonable suspicion by
2
     Defendants WARDLE, CUNNINGHAM, KNIGHT and DOES 1 through 10,
3
4    inclusive, and they attempted to and did arrest Plaintiff without probable cause.
5          62.    Defendants WARDLE, CUNNINGHAM, KNIGHT and DOES 1
6
     through 10, inclusive, during the detention and arrest of the Plaintiff, repeatedly
7
     and violently struck the face, head, neck and back of the Plaintiff without
8
     provocation when Plaintiff was complying with the commands of Defendant police
9
10   officers. The assault occurred when Plaintiff was not observed committing any
11   crime, was not the suspect of any crime; had no history or prior record indicating
12
     any prior criminal acts or threat to public safety or propensity to violence; no
13
     objective facts were known to the arresting officers that indicated any threat to
14
15   officer safety; and when Plaintiff was immobilized and handcuffed by the arresting

16   officer. The assault of the Plaintiff was not initiated after a failure to comply or in
17   an effort to obtain further compliance and when Plaintiff was immobilized and
18
     unable to present a threat to officer safety.
19
           63.    At the time of the detainment, arrest and assault by CPD, Plaintiff was
20
21   unarmed and his hands empty. Plaintiff was not wearing clothing to indicate any

22   concealed weapons, and took no action that he possessed any weapon. Plaintiff
23   made no threats, either by words, action, or gesture, threatening officer safety.
24
           64.    The conduct of Defendants WARDLE, CUNNINGHAM, KNIGHT
25
     and DOES 1 through 10, inclusive, were willful, wanton, malicious, and done with
26
27   reckless disregard for the rights and safety of Plaintiff and therefore warrants the
28   imposition of exemplary and punitive damages as to Defendants WARDLE,
                                                15
                                         COMPLAINT
      Case 4:21-cv-06244-JST Document 1 Filed 08/12/21 Page 16 of 29




1
     CUNNINGHAM, KNIGHT and DOES 1 through 10, inclusive.
2
              65.    Accordingly, Defendants WARDLE, CUNNINGHAM, KNIGHT
3
4    and DOES 1 through 10, inclusive, are each liable to Plaintiffs for compensatory
5    and punitive damages.
6
                                            COUNT 2
7
           Unreasonable Search and Seizure—Excessive Force (42 U.S.C. § 1983)
8
                                    (17 U.S.C. §§500, et seq.)
9
10    AGAINST ALL DEFENDANTS WARDLE, CUNNINGHAM, KNIGHT AND
11                             DOES 1 THROUGH 10, INCLUSIVE
12
              66.    Plaintiff repeats and re-alleges the allegations contained in
13
     paragraphs 1 through 65, inclusive, of this Complaint as though the same were
14
15   fully set forth herein.

16            67.   Defendants WARDLE, CUNNINGHAM, KNIGHT and DOES 1
17   through 10, inclusive, each of them, caused Plaintiff to be detained and they
18
     attempted to arrest Plaintiff in violation of his right to be secure in his person
19
     against unreasonable searches and seizures as guaranteed to Plaintiff under the
20
21   Fourth Amendment to the United States Constitution and applied to state actors by

22   the Fourteenth Amendment.
23            68.   Defendants detained, searched, and seized Plaintiff without probable
24
     cause.
25
              69.   In detaining, searching, and seizing Plaintiff, Defendants, each of
26
27   them, used force that was beyond the scope of appropriate force measures available
28   to a reasonable officer under the circumstance.
                                                16
                                         COMPLAINT
      Case 4:21-cv-06244-JST Document 1 Filed 08/12/21 Page 17 of 29




1
           70.    The force used by defendants, each of them, against the Plaintiff
2
     violated California law standards of objective reasonableness. Cal. Penal Code
3
4    Sec. 835a.
5          71.    The force employed by defendants, each of them, against the Plaintiff
6
     was excessive and unreasonable and a violation of the Fourth Amendment's
7
     prohibition against the use of unreasonable force.
8
           72.    The use of force by Defendants was unrelated to any act of self-
9
10   defense, risk to officer safety, employed in the absence to any risk to public safety,
11   and contrary to sound police practice or policy.
12
           73.    Defendants employed the concrete pavement as a weapon to increase
13
     the injury to Plaintiff by first throwing Plaintiff down onto the concrete with full
14
15   force, and throwing their weight on top of Plaintiff, by repeatedly using force to

16   have Plaintiff's face strike the concrete. The force used was likely and intended to
17   cause serious bodily injury, or death. The use of force in this manner of the
18
     concrete pavement employed a deadly weapon in the assault of Plaintiff by police.
19
           74.    The use of force was excessive and brutal when a substantial portion
20
21   of the injuries were caused when Plaintiff was completely immobilized,

22   handcuffed, and prone.
23         75.    The use of deadly force was excessive because this was not an
24
     immediate defense of life situation, the involved officers did not give a verbal
25
     warning that force would be employed, there was no refusal on the part of the
26
27   Plaintiff to comply with police commands, no opportunity was provided to
28   Plaintiff for compliance, and the force employed was likely to cause serious injury
                                               17
                                        COMPLAINT
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1
     and/or death.
2
           76.    As a direct, proximate and factual result of the use of force by
3
4    Defendants against Plaintiff, Plaintiff suffered extreme physical and mental pain,
5    suffering, loss of enjoyment, anguish, and a deprivation of protected rights.
6
           77.    The conduct of Defendants WARDLE, CUNNINGHAM, KNIGHT
7
     and DOES 1 through 10, inclusive, were willful, wanton, malicious, and done with
8
     reckless disregard for the rights and safety of Plaintiff and therefore warrants the
9
10   imposition of exemplary and punitive damages as to Defendants WARDLE,
11   CUNNINGHAM, KNIGHT and DOES 1 through 10, inclusive.
12
           78.    In addition to any other remedy, Plaintiff is entitled to recovery of
13
     attorneys fees.
14
15                                         COUNT 3

16     Municipal Liability for Unconstitutional Custom or Policy (42 U.S.C. § 1983)
17             AGAINST DEFENDANTS CITY OF COTATI, COTATI POLICE
18
       DEPARTMENT, MICHAEL PARISH, AND DOES 11 through 20, inclusive.
19
           79.    Plaintiff repeats and re-alleges the allegations contained in paragraphs
20
21   1 through 78, inclusive, of this Complaint as though the same were fully set forth

22   herein.
23         80.         On or from some time prior to February 7, 2020 (and continuing to
24
     the present day) DEFENDANTS CITY OF COTATI, COTATI POLICE
25
     DEPARTMENT, MICHAEL PARISH, AND DOES 11 through 20, inclusive,
26
27   deprive Plaintiff of the rights and liberties secured to them by the Fourth and
28   Fourteenth Amendment to the United States Constitution, in that said defendants
                                               18
                                         COMPLAINT
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1
     and their supervising and managerial employees, agents, and representatives,
2
     acting with gross negligence and in reckless and deliberate indifference to the
3
4    rights and liberties of the public in general and of persons in their class, situation,
5    and comparable position in particular, knowingly maintained, enforced and applied
6
     an official recognized custom, policy, and practice of:
7
           (a) Employing and retaining as police officers and other personnel,
8
     including Defendants WARDLE, CUNNINGHAM, KNIGHT and DOES 1
9
10   through 10, inclusive whom Defendants, at all times material herein knew or
11   reasonably should have known had dangerous propensities for abusing their
12
     authority and for mistreating citizens by failing to follow written Police
13
     Department policies;
14
15         (b) Defendants, at all times material herein knew or reasonably should have

16   known Defendants WARDLE, CUNNINGHAM, KNIGHT and DOES 1 through
17   10, had dangerous propensities for abusing their authority and for mistreating
18
     citizens by failing to follow written Police Department policies;
19
           (c) Of inadequately supervising, training, controlling, assigning, and
20
21   disciplining CPD Police Officers, and other personnel, who Defendants knew or in

22   the exercise of reasonable care should have known had the aforementioned
23   propensities and character traits;
24
            (d) By failing to adequately train officers, including Defendants WARDLE,
25
     CUNNINGHAM, KNIGHT and DOES 1 through 10, and failing to institute
26
27   appropriate policies, regarding the use of excessive force;
28         (e) By having and maintaining an unconstitutional policy, custom, and
                                                19
                                          COMPLAINT
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1
     practice of using excessive force, which also is demonstrated by inadequate
2
     training regarding these subjects. The policies, customs, and practices of
3
4    defendants, were done with a deliberate indifference to individuals’ safety and
5    rights; and
6
             (f) Employing a practice of inadequately trained and insufficiently supported
7
     CPD officers on foot patrols to intimidate and harm members of the public in an
8
     effort to reduce the number of late hour patronage in the downtown area of the
9
10   City.
11           (g) Of inadequately training CPD Police Officers on the risk of use of force
12
     and threat escalation in encounters with the public; and failing to provide
13
     appropriate procedures for investigating public disturbance incidents in a manner
14
15   that is within reasonable police standards.

16           81.   By reason of the aforementioned policies and practices of
17   DEFENDANTS CITY OF COTATI, COTATI POLICE DEPARTMENT,
18
     MICHAEL PARISH, AND DOES 11 through 20, inclusive, Plaintiff was severely
19
     injured and subjected to pain and suffering loss of liberty.
20
21           82.   Defendants, together with various other officials, whether named or

22   unnamed, had either actual or constructive knowledge of the deficient policies,
23   practices and customs alleged in the paragraphs above. Despite having knowledge
24
     as stated above these defendants condoned, tolerated and through actions and
25
     inactions thereby ratified such policies. Said defendants also acted with deliberate
26
27   indifference to the foreseeable effects and consequences of these policies with
28   respect to the constitutional rights of Plaintiff, and other individuals similarly
                                                20
                                         COMPLAINT
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1
     situated.
2
           83.    By perpetrating, sanctioning, tolerating and ratifying the outrageous
3
4    conduct and other wrongful acts, Defendants, acted with an intentional, reckless,
5    and callous disregard for the Plaintiff’s constitutional rights. Defendants, each of
6
     their actions were willful, wanton, oppressive, malicious, fraudulent, and
7
     extremely offensive and unconscionable to any person of normal sensibilities.
8
           84.    Furthermore, the policies, practices, and customs implemented and
9
10   maintained and still tolerated by Defendants, were affirmatively linked to and were
11   a significantly influential force behind the injuries of Plaintiff.
12
           85.    Accordingly, Defendants DOES 5-10, each are liable to Plaintiff for
13
     compensatory damages under 42 U.S.C. § 1983.
14
15         86.    Plaintiffs also seek attorney fees under this claim.

16                                          COUNT 4
17                 Municipal Liability – Failure to Train (42 U.S.C. § 1983)
18
         DEFENDANTS CITY OF COTATI, COTATI POLICE DEPARTMENT,
19
                 MICHAEL PARISH, AND DOES 11 through 20, inclusive,
20
21         87.    Plaintiff repeats and re-alleges the allegations contained in paragraphs

22   1 through 86, inclusive, of this Complaint as though the same were fully set forth
23   herein.
24
           88.    While acting under the color of state law and within the course and
25
     scope of their employment as police officers for the CPD police department,
26
27   assaulted and seriously injured Plaintiff, who committed no crime and was
28   complying with police commands, was unarmed and not presenting a threat to
                                                 21
                                         COMPLAINT
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1
     officer or public safety, and violated Plaintiff's rights and liberties secured to him
2
     by the Fourth and Fourteenth Amendments, including his right to be free from
3
4    unreasonable search and seizure.
5          89.      The training policies of the defendant CPD officers were not adequate
6
     to train its police officers, including but not limited to:
7
                 a. The training of CPD officers assigned to foot patrols of the downtown
8
                    area for late hours;
9
10               b. The training CPD Police officers on the risk of use of force and
11                  improper threat escalation in encounters with the public; and failing to
12
                    provide appropriate procedures for investigating public disturbance
13
                    incidents in a manner that is within reasonable police standards;
14
15               c. Failing to institute a procedure to adequately monitor, track, and

16                  respond to incidents of excessive force by individual CPD officers in
17                  encounters with the public resulting in bodily injury;
18
                 d. Failing to institute a procedure to adequately investigate excessive
19
                    force complaints against CPD officers by members of the public;
20
21               e. Appropriate training to deescalate encounters with nonviolent

22                  members of the public;
23               f. Appropriate training to avoid the use of excessive force;
24
                 g. Appropriate procedures to prevent false narratives to be employed by
25
                    police to conceal violations of police department policy;
26
27               h. Appropriate standards for reasonable interactions with members of the
28                  public when no crime is observed and no suspect is identified; and
                                                 22
                                           COMPLAINT
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1
                  i. Inadequate training includes failing to teach officers to give a verbal
2
                     warning when feasible prior to using force, to give commands when
3
4                    feasible prior to use of force, and non violent methods to obtain
5                    compliance when officer safety is not at risk.
6
            90.      Defendants CITY OF COTATI, COTATI POLICE DEPARTMENT,
7
     MICHAEL PARISH, AND DOES 11 through 20, inclusive, were aware that
8
     failure to implement some sort of training with regards to their officers’ use of
9
10   deadly force and dealing with unarmed suspects, would result in continuing to have
11   numerous unreasonable officer involved avoidable excessive force incidents;
12
            91.      The failure of the Defendants to provide CPD officers of adequate
13
     training with regards reasonable use of force, caused the deprivation of the
14
15   Plaintiff’s rights by Defendant CPD officers. In other words, the Defendant’s

16   failure to train is so closely related to the deprivation of the Plaintiff’s rights as to
17   be the moving force that caused the ultimate injury.
18
            92.      By failing to provide adequate training to CPD officers, Defendants
19
     acted with an intentional, reckless, and callous disregard for the life of Plaintiff,
20
21   and Plaintiffs’ constitutional rights. Defendants, each of their actions were willful,

22   wanton, oppressive, malicious, fraudulent, and extremely offensive and
23   unconscionable to any person of normal sensibilities.
24
            93.      These inadequate training policies existed prior to the date of this
25
     incident and continue to this day.
26
27          94.      The Defendants were deliberately indifferent to the known or obvious
28   consequences of its failure to train its police officers, including incident involving
                                                  23
                                           COMPLAINT
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1
     CPD officers and the assault of the Plaintiff.
2
           95.     Accordingly, Defendants CITY OF COTATI, COTATI POLICE
3
4    DEPARTMENT, MICHAEL PARISH, AND DOES 11 through 20, inclusive, each
5    are liable to Plaintiffs for compensatory damages under 42 U.S.C. § 1983.
6
           96.     Plaintiffs also seek statutory attorney fees under this claim.
7
                                           COUNT 5
8
     False Arrest And Imprisonment (Cal. Gov't Code Sec. 820 and California common
9
10                                            law).
11             AGAINST DEFENDANTS CITY OF COTATI, CPD, WARDLE,
12
                 CUNNINGHAM, KNIGHT and DOES 1 through 10, inclusive,
13
           97.     Plaintiff repeats and re-alleges the allegations contained in paragraphs
14
15   1 through 96, inclusive, of this Complaint as though the same were fully set forth

16   herein.
17         98.     While acting under the color of state law and within the course and
18
     scope of their employment as police officers for the CPD police department,
19
     assaulted and seriously injured Plaintiff, who committed no crime and was
20
21   complying with police commands, was unarmed and not presenting a threat to

22   officer or public safety, and violated Plaintiff's rights and liberties secured to him
23   by the Fourth and Fourteenth Amendments, including his right to be free from
24
     unreasonable search and seizure.
25
           99.     Defendants, each of them, acting within the course and scope of their
26
27   employment as CPD officers, intentionally deprived Plaintiff of his freedom of
28   movement by use of force, threats of force and unreasonable duress when
                                                24
                                         COMPLAINT
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1
     defendants detained, searched, arrested and incarcerated Plaintiff without probable
2
     based on false statements given by Defendants WARDLE, CUNNINGHAM,
3
4    KNIGHT.
5          100. Plaintiff did not consent to the detention, arrest or imprisonment, and
6
     any consent was obtained without voluntary consent, without knowledge, and
7
     through unreasonable duress, and physical violence.
8
           101. The detention, search, seizure, and incarceration of Plaintiff was
9
10   obtained without a predicate crime committed, without reasonable suspicion, and
11   without probable cause.
12
           102. Defendant City, or, in the event the employing agency is determined
13
     to be the Cotati Police Department, the Cotati Police Department is vicariously
14
15   liable for the arrest and imprisonment of Plaintiff pursuant to Section 815.2(a) of

16   the California Gov't Code which provides that a public entity is liable for the
17   injuries caused by its employees within the course and scope of the employment if
18
     the employee's act would subject the employee to liability.
19
           103. The conduct of Defendants WARDLE, CUNNINGHAM, KNIGHT
20
21   and DOES 1 through 10, inclusive, was malicious, wanton, oppressive, and

22   accomplished through fraud, concealment of facts, and a conscious disregard for
23   the rights of the Plaintiff, entitling Plaintiff to an award of exemplary and punitive
24
     damages.
25
                                           COUNT 6
26
27      Assault and Battery (Cal. Gov't Code Sec. 820 and California common law).
28           AGAINST DEFENDANTS CITY OF COTATI, CPD, WARDLE,
                                               25
                                        COMPLAINT
      Case 4:21-cv-06244-JST Document 1 Filed 08/12/21 Page 26 of 29




1
                CUNNINGHAM, KNIGHT and DOES 1 through 10, inclusive,
2
           104. Plaintiff repeats and re-alleges the allegations contained in paragraphs
3
4    1 through 103, inclusive, of this Complaint as though the same were fully set forth
5    herein.
6
           105. While acting under the color of state law and within the course and
7
     scope of their employment as police officers for the CPD police department,
8
     assaulted and seriously injured Plaintiff, who committed no crime and was
9
10   complying with police commands, was unarmed and not presenting a threat to
11   officer or public safety, and violated Plaintiff's rights and liberties secured to him
12
     by the Fourth and Fourteenth Amendments, including his right to be free from
13
     unreasonable search and seizure.
14
15         106. Plaintiff did not consent to the assault and battery.

16         107. Defendant City, or, in the event the employing agency is determined
17   to be the Cotati Police Department, the Cotati Police Department is vicariously
18
     liable for the arrest and imprisonment of Plaintiff pursuant to Section 815.2(a) of
19
     the California Gov't Code which provides that a public entity is liable for the
20
21   injuries caused by its employees within the course and scope of the employment if

22   the employee's act would subject the employee to liability.
23         108. The conduct of Defendants WARDLE, CUNNINGHAM, KNIGHT
24
     and DOES 1 through 10, inclusive, was malicious, wanton, oppressive, and
25
     accomplished through fraud, concealment of facts, and a conscious disregard for
26
27   the rights of the Plaintiff, entitling Plaintiff to an award of exemplary and punitive
28   damages.
                                                26
                                         COMPLAINT
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1
                                            COUNT 7
2
               Negligence (Cal. Gov't Code Sec. 820 and California common law).
3
4                               AGAINST ALL DEFENDANTS
5          109. Plaintiff repeats and re-alleges the allegations contained in paragraphs
6
     1 through 108, inclusive, of this Complaint as though the same were fully set forth
7
     herein.
8
           110. While acting under the color of state law and within the course and
9
10   scope of their employment as police officers for the CPD police department,
11   assaulted and seriously injured Plaintiff, who committed no crime and was
12
     complying with police commands, was unarmed and not presenting a threat to
13
     officer or public safety, and violated Plaintiff's rights and liberties secured to him
14
15   by the Fourth and Fourteenth Amendments, including his right to be free from

16   unreasonable search and seizure.
17         111. Defendants were, each of them, under a duty imposed by law, to act
18
     reasonably to avoid injury to persons like Plaintiff, whose harm was forseeable by
19
     Defendants.
20
21         112. Defendants, each of them, breached their duty of care by:

22         a) Failing to arrest on reasonable suspicion and probable cause.
23         b) Failing to exercise due care in the hiring, supervision, investigation of
24
                subordinate employees involved in the detention, investigation, assault,
25
                arrest and incarceration of the Plaintiff.
26
27         c) Failing to exercise due care in investigating the claim of excessive force
28              and continuing to employ individuals not suitable for interactions with
                                                 27
                                          COMPLAINT
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1
              the general public and inadequately trained on the appropriate use of
2
              force.
3
4          d) Failing to implement police department policy.
5          e) Failing to comply with the written and adopted police department policy.
6
           f) Failing to monitor, measure and identify compliance with adopted police
7
              department policy.
8
           g) Failing to employ processes to identify and terminate bad actors
9
10            employed in the police department.
11         h) Failing to investigate complaints of excessive force.
12
           113. Each of the aforementioned acts and omissions of the defendants
13
     caused injury and harm to the Plaintiff.
14
15         114. Defendant City, or, in the event the employing agency is determined

16   to be the Cotati Police Department, the Cotati Police Department is vicariously
17   liable for the arrest and imprisonment of Plaintiff pursuant to Section 815.2(a) of
18
     the California Gov't Code which provides that a public entity is liable for the
19
     injuries caused by its employees within the course and scope of the employment if
20
21   the employee's act would subject the employee to liability.

22
23                                 PRAYER FOR RELIEF
24
           WHEREFORE, Plaintiff requests relief in the following:
25
           For compensatory damages in an amount to be subject to proof at trial, for
26
27   economic losses;
28         A. For past and future medical expenses;
                                                28
                                        COMPLAINT
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 1
          B. For punitive damages in an amount to be proven at trial;
 2
          C. For general damages, non-economic harm suffered;
 3
 4        D. For attorneys fees;
 5        E. For allowable costs;
 6
          F. For such further and other relief the Court deems just, proper and
 7
             appropriate.
 8
          G. That Plaintiff has all other and further relief as this Court may deem just
 9
10           and proper under the circumstances.
11
12
          PLAINTIFF DEMANDS JURY TRIAL.
13
14
15
16   Dated: August 12, 2021                By:
                                                  Gene H. Shioda, Esq.
17                                                Attorney for Plaintiff
18                                                JOHN PATRICK RILEY.
19
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21
22
23
24
25
26
27
28

                                             29
                                      COMPLAINT
